
559 S.E.2d 789 (2002)
James Dewey MILON and Rosa P. Milon,
v.
DUKE UNIVERSITY; Duke University Health System, Inc.; Private Diagnostic Clinic, L.L.P.; Private Diagnostic Clinic, PLLC; David F. Paulson, M.D.; Peter S.A. Glass, M.D.; and Mary Crodelle, CRNA.
No. 549A01.
Supreme Court of North Carolina.
March 7, 2002.
*790 Bugg, Wolf &amp; Wilkerson, P.A, by John A. Bugg and William J. Wolf, Durham; Miller &amp; Martin LLP, by Gayle Malone, Jr., Nashville, TN, pro hac vice; and Center for Constitutional Litigation, PC, by John Vail, Washington, DC, pro hac vice, for plaintiff-appellants.
Fulbright &amp; Jaworski L.L.P, by John M. Simpson, Washington, DC; and Moore &amp; Van Allen, PLLC, by Charles R. Holton, Durham, for defendant-appellees Duke University; Duke University Health System, Inc.; Private Diagnostic Clinic, L.L.P.; Private Diagnostic, P.L.L.C.; Peter S.A. Glass, M.D.; and Mary Crodelle, C.R.N.A.; and Patterson, Dilthey, Clay &amp; Bryson, by Mark E. Anderson, Raleigh, for defendant-appellee David F. Paulson, M.D.
Financial Protection Law Center, by Chandra T. Taylor, Durham, and Mallam J. Maynard, Wilmington, amicus curiae.
Triggs, Beskind, Strickland &amp; Rabenau, P.A, by Donald R. Strickland and Karen M. Rabenau, Raleigh, on behalf of the North Carolina Academy of Trial Lawyers, amicus curiae.
North Carolina Justice &amp; Community Development Center, by Carlene McNulty, Raleigh, amicus curiae.
Friends of Residents in Long Term Care, Inc. by Thomas W. Henson, Jr., Rocky Mount, amicus curiae.
PER CURIAM.
For the reasons stated in the dissenting opinion, we reverse the decision of the Court of Appeals.
REVERSED.
